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Deborah L. Crain                                                 EXPERIENCE
      Attorney at Law
                                March 2025 – Present – President, E-MERGER.LAW
    CONTACT INFORMATION         1334 Brittmoore Road, #2314, Houston, Texas
deborah.crain@outlook.com       At E-Merger, I run a full litigation and transactional practice. My litigation practice
      (832) 449-0222            includes business, construction and real estate matters. I have been twice named as the
                                “litigation attorney” by the Bankruptcy Court, wherein I successfully obtained assets for
                                the estate. I have extensive litigation experience at every stage of the dispute (including
 TEXAS BAR CARD NUMBER (ALSO
                                trials). I have been the President of two BNI chapters, which is a networking group that
        LICENSED IN la)
                                has national recognition, and I have my Business Coaching Certification from Business
         24067319               Made Simple University.

       TX LICENSE DATE          April 2023 – March 2025 Shareholder, LUGENBUHL
        04/02/2009              801 Travis Street, Houston, Texas 77002
                                My practice at Lugenbuhl was identical to what I do at E-Merger (a full transactional and
    COURTS OF ADMITTANCE        litigation docket).
      US Tax Court
                                2020 – (March) 2023 Senior Attorney and Shareholder: Business and Litigation
 Texas Southern District &
                                KEARNEY, MCWILLIAMS & DAVIS, PLLC
    Bankruptcy Court            55 Waugh Drive, #150, Houston, Texas 77007
                                My practice at KMD was identical to what I do at E-Merger (a full transactional and
         EDUCATION              litigation docket).
           1999
B.S. Marketing, University of   2009 – 2020 Owner, LAW OFFICE OF DEBORAH L. CRAIN, P.C.
       New Orleans              10707 Corporate Drive, Suite 100, Stafford, Texas 77477
                                My practice at the Law Office of Deborah L. Crain, P.C. was the same at Lugenbuhl and
            2002                KMD, including successful jury trials. I built my book of business to seven figures
   J.D., Louisiana State        organically. I merged with KMD after realizing that I could not scale up further without
 University, Paul M. Hebert     a full group of attorneys. I also brought two of my team members to KMD.
      School of Law
                                2005 – 2009 Staff Attorney - LOUISIANA TAX COMMISSION
                                5420 Corporate Boulevard, Baton Rouge, LA 70806
    ADDITIONAL LANGUAGES        At the Tax Commission, I focused on handling hundreds of appeals filed both by
  American Sign Language        Taxpayers and Assessors. I drafted numerous important decisions on behalf of the
                                Commission, and successfully defended those decisions in Court and one of my cases is
       CERTIFICATIONS           still the leading case on due process (for tax sales) in Louisiana.

                                2002 – 2005 Associate, WHITEHEAD LAW FIRM
                                11909 Bricksome Ave, Suite W-3, Baton Rouge, LA 70816
                                While at the Whitehead Law Firm, I successfully defended the Louisiana Department of
                                Transportation and Development in two multi-million dollar claims against seasoned
                                plaintiffs’ lawyers. One lawyer in particular, John deGravelles, had only lost three trials
     Business Coaching          in twenty years. He is now a federal court judge. Additionally, I handled corporate matters
       Certification            for clients.

                                MEMBERSHIPS
                                Texas State Bar Association, Fort Bend Bar Association, Fort Bend Independent School
                                District Volunteer Corporate Counsel, and Business and Networking International. I also
                                volunteer weekly as a sign language interpreter at my church, Triumph Church in
                                Stafford. Serving the community is an integral part of who I am.
